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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case (NOTE: Identify Changes with Asterisks (*))
Sheet 1

UNITED STATES DISTRICT COURT
District of Columbia [=]

UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
vs )
LEO CHRISTOPHER KELLY ) Case Number: 21cr708 (RCL)
) USM Number: 26155-509

Date of Original Judgment: 8/18/2023 | ) Nicholas Smith =
(Or Date of Last Amended Judgment) ) Defendant’s Attorney

THE DEFENDANT:
CL pleaded guilty to count(s) _ _

(pleaded nolo contendere to count(s) : -= __
which was accepted by the court. ~

(% was found guilty on count(s) 2-7 of the Indictment filed on 12/3/2021

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 USC § 1752(a)(1) Entering and Remaining in a Restricted Building or Grounds ~—_ 1/6/2021 2
18 USC § 1752(a)(2) Disorderly and Disruptive Conduct in a Restricted Building 1/6/2021 3
or Grounds
The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s) |
(J Count(s) __ lis [are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in. economic circumstances.

12/10/2024
Date of Imposition of Judgment

Cyt Sone
Signature of Judge
Royce C.Lamberth US District Court Judge
Name and Title of Judge
wlialay
Date

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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case

Sheet 1A (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: LEO CHRISTOPHER KELLY

CASE NUMBER: 21cr708 (RCL)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count

40 USC § 5104(e)(2)(A) — Entering and Remaining on the Floor of Congress 1/6/2021 4

40 USC § 5104(e)(2)(C) — Entering and Remaining in Certain Rooms in the 1/6/2021 5
Capitol Building

40 USC § 5104(e)(2)(D) — Disorderly Conduct in a Capitol Building 1/6/2021 6

40 USC § 5104(e)(2)(G) | Parading, Demonstrating, or Picketing in a Capitol 1/6/2021 7

Building
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 2 — Imprisonment (NOTE: Identify Changes with Asterisks (*))

. Judgment — Page 3 of 9
DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

Time-Served as to Counts 2, 3, 4, 5, 6 and 7.

O The court makes the following recommendations to the Bureau of Prisons:

O The defendant is remanded to the custody of the United States Marshal.

Oo The defendant shall surrender to the United States Marshal for this district:
Ol at Ol am. O pm. on

Ol _ as notified by the United States Marshal.

i The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
0 before 2 p.m. on

O sas notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on _ _ to == _
at _____ with a certified copy of this judgment.
i UNITED STATES MARSHAL -.
By =

~ DEPUTY UNITED STATES MARSHAL
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 3 — Supervised Release (NOTE: Identify Changes with Asterisks (*))

Judgment—Page 4 of 9
DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

Twelve (12) months as to Counts 2 and 3, with terms running concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
(1 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)
4. [* You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of

restitution. (check if applicable)

LC) You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. [1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (] You must participate in an approved program for domestic violence. (check if applicable)

2 tS os

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case

Sheet 3A — Supervised Release

Judgment—Page 9D of 9

DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.

we

11.

12.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.2ov.

Defendant's Signature Date _ _
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 3B — Supervised Release (NOTE: Identify Changes with Asterisks (*})

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DEFENDANT: LEO CHRISTOPHER KELLY

CASE NUMBER: 21cr708 (RCL)

ADDITIONAL SUPERVISED RELEASE TERMS

The Court authorizes supervision of this case to be transferred to the United States District Court for the Northern District
of lowa.
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 3D — Supervised Release (NOTE: Identify Changes with Asterisks (*))

Judgment—Page 7 of 9

DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)

SPECIAL CONDITIONS OF SUPERVISION

Re-entry Progress Hearing - Within sixty days of release from incarceration or placement on supervision, you will appear
before the Court for a re-entry progress hearing. Prior to the hearing, the probation officer will submit a report summarizing
your status and compliance with release conditions. If you are supervised by a district outside of the Washington DC
metropolitan area, the United States Probation Office in that district will submit a progress report to the court within 60
days of the commencement of supervision; upon receipt of the progress report, the Court will determine if your appearance

is required.
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AO 24SC (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment—Page 8 of 9

DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 90.00 $ 500.00 $ 5,000.00 $ $
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
(© The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximate] Renee payment, unless specified otherwise in
’ the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Clerk of the Court for the US
District Court for the District of
Columbia for disbursement to the

following victim:

Architect of the Capitol, Office of $500.00
the Chief Financial Officer, Ford

House Office Building,

Room H2-205B

Washington, DC 20515

TOTALS $ 0.00 $ 500.00 ©

L] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

4 The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
the interest requirement is waived for [ fine restitution.

(1 the interest requirement forthe (fine L] restitution is modified as follows:

* Amy, Vicky, and Andy Child PorsOprap hy Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
Sheet 6 — Schedule of Payments (NOTE: Identify Changes with Asterisks (*))

Judgment— Page __-9 sof 9

DEFENDANT: LEO CHRISTOPHER KELLY
CASE NUMBER: 21cr708 (RCL)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [ Lumpsumpayment of$ 90.00 due immediately, balance due

Ol notlaterthan / , or
M inaccordancewith O C, OD, O E,or @& F below; or

[1 Payment to begin immediately (may be combined with [] C, CO D,or ( F below); or

C ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
(e.g., months or years), to commence ___ (€.g., 30 or 60 days) after the date of this judgment, or
D (1 Paymentinequal _ ____(e.g., weekly, monthly, quarterly) installments of $ _____ over a period of
____ (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F ™ Special instructions regarding the payment of criminal monetary penalties:

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Case Number . /
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate.

(1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
ane principal, (6) fine interest, (7) community restitution, (8) VTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
